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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 MAGNUS PERSSON, Derivatively on                  §
 behalf of DIODES, INC.                           §
                                                  §           No. 6:14-cv-245
 v.                                               §
                                                  §
 KEH-SHEW LU, et al.                              §
     .
                ORDER OF DISMISSAL WITHOUT PREJUDICE

        Before the Court is Plaintiff Magnus Persson’s Notice of Voluntary Dismissal (Doc.

 No. 19) pursuant to Rule 41(a)(1)(A)(i). In accordance with the Notice of Dismissal and

 recognizing that Defendants have not filed responsive pleadings in this case, it is hereby

        ORDERED that the above-styled and numbered cause be DISMISSED WITHOUT

 PREJUDICE.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 1st day of June, 2016.
